









Dismissed and Memorandum Opinion filed April 21, 2005









Dismissed and Memorandum Opinion filed April 21, 2005.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-05-00222-CR



&nbsp;

____________

&nbsp;

SAMUEL LEE
CREAR, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF
TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
228th District Court

Harris County, Texas

Trial Court Cause No. 400,630 

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

This is an attempted appeal of the denial
of appellant=s pro se motion to obtain records and
request for loan of trial records.&nbsp; 








Generally, an appellate court only has jurisdiction to
consider an appeal by a criminal defendant where there has been a final
judgment of conviction.&nbsp; Workman v.
State, 170 Tex.Crim. 621, 343 S.W.2d 446, 447 (1961);&nbsp; McKown v. State, 915 S.W.2d 160, 161
(Tex.App.‑‑Fort Worth 1996, no pet.).&nbsp; The exceptions include:&nbsp; (1) certain appeals while on deferred
adjudication community supervision, Kirk v. State, 942 S.W.2d 624, 625
(Tex.Crim.App.1997); (2) appeals from the denial of a motion to reduce bond,
TEX.R.APP. P. 31.1; McKown, 915 S.W.2d at 161;&nbsp; and (3) certain appeals from the denial of
habeas corpus relief, Wright v. State, 969 S.W.2d 588, 589 (Tex.App.‑‑Dallas
1998, no pet.);&nbsp; McKown, 915
S.W.2d at 161.&nbsp; 

The denial of a motion to obtain trial records is not a
separately appealable order.&nbsp; Because
this appeal does not fall within the exceptions to the general rule that appeal
may be taken only from a final judgment of conviction, we have no jurisdiction.


&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Accordingly,
the appeal is ordered dismissed.

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum
Opinion filed April 21, 2005.

Panel consists of Justices
Edelman, Seymore, and Guzman.

Do Not Publish C Tex. R. App. P. 47.2(b).

&nbsp;





